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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

TERRANCE DORTCH,                           )
                                           )
              Petitioner,                  )
                                           )     CIVIL ACTION NO. 07-0482-WS
v.                                         )
                                           )     CRIMINAL ACTION NO. 05-0152-WS
UNITED STATES OF AMERICA,                  )
                                           )
              Respondent.                  )

                                          ORDER
       This matter is before the Court on the petitioner’s motion to vacate filed pursuant
to 28 U.S.C. § 2255. (Doc. 78). The petitioner filed a brief in support, (Doc. 79), and the
respondent a brief in opposition. (Doc. 87). The petitioner declined the opportunity to
file a reply. (Doc. 83).


                                     BACKGROUND
       The petitioner pleaded guilty in June 2005 to a charge of conspiracy to possess
with intent to distribute cocaine and crack cocaine. (Doc. 40). The plea agreement
included a partial waiver of appeal rights. (Doc. 38 at 9-10). Although the guidelines
range was 188 to 235 months, and although the statutory minimum was 240 months, the
petitioner received a sentence of 120 months. (Doc. 73). He did not appeal.


                                 CLAIMS PRESENTED
       The petitioner asserts the following claims:
       •      Trial counsel was ineffective in failing to file a notice of appeal and/or in
              failing to consult with the petitioner concerning appeal;
       •      Trial counsel was ineffective in failing to object to a Booker violation;
       •      The sentence received violated Booker because it was based on facts, other
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               than prior felony drug conviction, not admitted by the petitioner;
       •       The Court lacked jurisdiction under 21 U.S.C. § 851 to sentence the
               petitioner in reliance on any prior felony drug conviction, because: (a) the
               respondent failed to file a timely information identifying the prior
               convictions; and (b) the Court failed to address the prior convictions at
               sentencing.
(Doc. 79).


                                       DISCUSSION
I. Failure to File Notice of Appeal/Consult Concerning Appeal.
       A claim of ineffective assistance of counsel requires both objectively unreasonable
performance and prejudice to the petitioner from that deficient performance. Roe v.
Flores-Ortega, 528 U.S. 470, 476-77 (2000). “We have long held that a lawyer who
disregards specific instructions from the defendant to file a notice of appeal acts in a
manner that is professionally unreasonable.” Id. at 477. Moreover, “when counsel fails to
file a requested appeal, a defendant is entitled to [a new] appeal without showing that his
appeal would likely have had merit.” Id. (internal quotes omitted). In other words,
“[p]rejudice is presumed.” Gomez-Diaz v. United States, 433 F.3d 788, 790 (11th Cir.
2005). The same principles apply even when the petitioner, as here, has signed a partial
appeal waiver. “If the evidence establishes ... that Petitioner’s attorney acted contrary to
his client’s wishes, ... prejudice is presumed, and Petitioner is entitled to an out-of-time
appeal, regardless of whether he can identify any arguably meritorious grounds for appeal
that would fit one of the exceptions contained in his appeal waiver.” Gomez-Diaz, 433
F.3d at 793.
       The petitioner has submitted an affidavit stating that “I told attorney [Lila]
Cleveland that I wanted to appeal my case.” (Doc. 81). The respondent has submitted
Cleveland’s affidavit, which states that the petitioner “never asked me, either in writing or


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over the phone, to file an appeal on his behalf.” (Doc. 87, Exhibit 1). This conflict in the
evidence ordinarily would result in an evidentiary hearing. By previous order, however,
the Court pointed out the futility of an appeal given the petitioner’s appeal waiver and the
facial invalidity of his claims on their merits. The Court required the petitioner to state
whether he nevertheless desired an evidentiary hearing given the disruption of his living
conditions that such a hearing would entail, and advised the petitioner that silence would
be construed as a withdrawal of his request for a hearing. (Doc. 88). The petitioner did
not respond. Accordingly, the Court determines the merits of the petitioner’s claim on the
basis of the written submissions.
       While the petitioner and Cleveland disagree on the ultimate question of whether he
requested her to file a notice of appeal, the petitioner’s affidavit simply states this bald
conclusion, with no particle of factual detail to support or corroborate it. Cleveland, in
contrast, provides detail about conversations she had with the petitioner both before and
after sentencing, and she states affirmatively that the only conversations the two had
following sentencing concerned a possible Rule 35(b) motion based on continued
assistance. This is consistent with the transcript of the sentencing hearing, which reflects
that Cleveland argued for a lower sentence than the 120 months proposed by the
respondent, based on the petitioner’s ability to provide further assistance and on the
uncertainty that the respondent would file a Rule 35(b) motion after such assistance was
provided. The Court’s response was to note the respondent’s written indication that it
would file a Rule 35(b) motion under such circumstances and to state that any such
motion would be favorably considered. (Doc. 86 at 6-10, 14).
       Based on these considerations, the Court finds that the petitioner did not request
counsel to file a notice of appeal. Accordingly, the petitioner is entitled to no relief on
this ground.
       Even if no request to appeal is made, “counsel has a constitutionally imposed duty
to consult with the defendant about an appeal when there is reason to think either (1) that


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a rational defendant would want to appeal (for example, because there are nonfrivolous
grounds for appeal), or (2) that this particular defendant reasonably demonstrated to
counsel that he was interested in appealing.” Flores-Ortega, 528 U.S. at 480. The
Eleventh Circuit has acknowledged that an expression insufficient to constitute a request
or direction to appeal may nevertheless show that the petitioner reasonably demonstrated
to counsel an interest in appealing. Gomez-Diaz, 433 F.3d at 792. In such a situation, the
failure to consult constitutes deficient performance, and the petitioner is prejudiced if he
shows a reasonable probability that he would have timely appealed but for counsel’s
failure to consult. Flores-Ortega, 528 U.S. at 484.
       The petitioner’s affidavit identifies no expression of interest in appealing other
than the one assertion that he told Cleveland he wanted to appeal, and the Court has
already found that he made no such statement. Accordingly, the Court also finds that the
petitioner did not express an interest in appealing so as to trigger a duty of consultation.
       “In answering the question of whether a rational defendant would want to appeal
his sentence, it is relevant to ask whether there are any potential non-frivolous grounds
for appeal, whether there was a guilty plea, and whether the plea expressly waived the
right to appeal.” Otero v. United States, 499 F.3d 1267, 1271 (11th Cir. 2007). Also
relevant is “whether the defendant received the sentence he bargained for.” Id. at 1270
(internal quotes omitted). Each of these factors weighs against the petitioner.
       Entering a guilty plea is a “highly relevant” consideration, “both because a guilty
plea reduces the scope of potentially appealable issues and because such a plea may
indicate that the defendant seeks an end to judicial proceedings.” Flores-Ortega, 528
U.S. at 480. The petitioner entered a guilty plea.
       An appeal waiver sharply limits the possible grounds of appeal, and an appeal
based on grounds within the appeal waiver is frivolous and not one that a rational
defendant would take. Otero, 499 F.3d at 1271. Here, the petitioner’s appeal waiver
permits him to challenge on appeal only: (1) a punishment in excess of the statutory


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maximum; (2) a punishment constituting an upward departure from the guideline range;
and (3) ineffective assistance of counsel. (Doc. 38 at 10). The petitioner was not
sentenced above the statutory maximum or based on an upward departure. Accordingly,
the petitioner’s third and fourth grounds are captured by the waiver, are therefore
frivolous, and are thus not grounds that a rational defendant would pursue.1
       As discussed below and in the Court’s previous order, (Doc. 88), all of the
petitioner’s grounds of appeal are frivolous on the merits regardless of the appeal waiver,
and are therefore grounds that no rational defendant would pursue.
       The petitioner does not suggest that he received a higher sentence than he
bargained for. The plea agreement did not specify a sentence to be imposed but
affirmatively reserved that decision to the Court. (Doc. 38 at 3-4). The plea agreement
did not even obligate the respondent to move for a reduction in sentence based on
cooperation, (id. at 4-9), but the respondent requested, and the Court awarded, a 50%
reduction from the statutory minimum sentence.(Docs. 71, 73). The petitioner’s
handwritten letter following sentencing does not complain that he received a higher
sentence than he bargained for but merely requests the Court to consider a further
sentence reduction to the 100-month level received by his co-defendant. (Doc. 75). The
Court finds that the petitioner did not receive a higher sentence than he bargained for.
       Based on the foregoing, the Court finds that Cleveland had no constitutional duty
to consult with the petitioner concerning an appeal, because he did not reasonably
demonstrate an interest in appealing and because she had no reason to think that a rational
defendant would want to appeal.

       1
        The respondent tries to stretch this argument to encompass the petitioner’s claim
of ineffective assistance in failing to argue Booker. (Doc. 87 at 14-15). In the case on
which they rely, however, the appeal waiver did not expressly exempt from the waiver
claims of ineffective assistance. Williams v. United States, 396 F.3d 1340, 1341 (11th Cir.
2005). The respondent’s conclusory invocation of Williams, without any effort to grapple
with this discontinuity, is inadequate. See United States v. Westry, 2007 WL 3287371 at
*6 (S.D. Ala. 2007) (rejecting identical argument).

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       Because the petitioner did not request counsel to file a notice of appeal, and
because counsel had no constitutional duty to consult with the petitioner concerning an
appeal, the petitioner is not entitled to relief on his first ground.


II. Booker Violation.
       The petitioner complains that his sentence violates United States v. Booker, 543
U.S. 220 (2005), in that the Court increased his sentence in reliance on facts (other than
his guilty plea and prior convictions) that were not admitted by the petitioner or found by
a jury. (Doc. 79 at 12). However, the only facts relied on in sentencing to raise the
sentence beyond that supported by the guilty plea were the petitioner’s prior convictions
and facts (including drug quantity) that were admitted by the petitioner in the factual
resume made part of his plea agreement. (Doc. 38 at 12-17; Doc. 49 at 7-14; Doc. 86 at
3). There was patently no Booker violation, and any appeal on this basis would be
frivolous.


III. Section 851 Violations.
       The petitioner argues that the respondent failed to file an information prior to his
guilty plea identifying his former felony drug convictions, as required by 21 U.S.C. §
851(a) in order to trigger the enhanced penalties of 21 U.S.C. § 841(b) based on such
convictions. The respondent in fact filed such an information in June 2005, prior to the
petitioner’s guilty plea, identifying two prior felony drug convictions for the express
purpose of enhancing the petitioner’s sentence. (Doc. 31). Section 851(a) was obviously
satisfied, and any appeal on this ground would be frivolous.
       The petitioner argues that the Court failed to inquire of him if he affirmed or
denied the prior convictions and failed to advise him that he could not challenge them
after imposition of the federal sentence, as required by Section 851(b). The information
identified the petitioner’s conviction in Case No. 96-0496, Circuit Court of Baldwin


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County, for possession of cocaine, (Doc. 31), and that conviction occurred in September
1996. (Doc. 49 at 10). A “district court [i]s not required to adhere to the rituals of §
851(b)” when the conviction at issue is more than five years old. United States v.
Williams, 438 F.3d 1272, 1274 (11th Cir. 2006) (internal quotes omitted). Because this
conviction was more than five years old, there could be no violation of Section 851(b),
and any appeal on this ground would be frivolous.2


IV. Ineffective Assistance.
       As noted, there patently was no Booker violation, and “it is axiomatic that the
failure to raise nonmeritorious issues does not constitute ineffective assistance” of
counsel. Bolender v. Singletary, 16 F.3d 1547, 1573 (11th Cir. 1994). Any appeal on this
ground would be frivolous.


V. Evidentiary Hearing.
       “Unless the motion [under Section 2255] and the files and records of the case
conclusively show that the prisoner is entitled to no relief, the court shall cause notice
thereof to be served upon the United States attorney, grant a prompt hearing thereon,
determine the issues and make findings of fact and conclusions of law with respect
thereto.” 28 U.S.C. § 2255. However, an evidentiary hearing is not required in every
case. For example, no evidentiary hearing is required:
       •      Where the petitioner’s claim is “patently frivolous,” Holmes v. United
              States, 876 F.2d 1545, 1553 (11th Cir. 1989);
       •      Where the claim is “based upon unsupported generalizations,” id.;


       2
        The date of conviction for the second prior felony drug offense identified in the
information was less than five years before sentencing. Because only one prior offense is
needed to trigger the enhanced penalties of Section 841(b), and because all procedural
requirements were met with respect to the 1996 conviction, the second conviction is
irrelevant to the petitioner’s challenges.

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       •      Where the petitioner has not “allege[d] facts that, if true, would entitle him
              to relief,” Aron v. United States, 291 F.3d 708, 715 (11th Cir. 2002);
       •      Where the facts alleged are not “reasonably specific [and] non-
              conclusory,” id. at 714-15;
       •      “[W]here the petitioner’s allegations are affirmatively contradicted by the
              record,” id. at 715;
       •      Where the petitioner’s version of the facts has already been accepted as
              true, Turner v. Crosby, 339 F.3d 1247, 1274-75 (11th Cir. 2003); and
       •      Where “the district court can determine the merits of the ineffectiveness
              claim based on the existing record.” Schultz v. Wainwright, 701 F.2d 900,
              901 (11th Cir. 1983).
       As noted, the petitioner abandoned an evidentiary hearing as to his first claim. As
is evident from the Court’s discussion above, each of the petitioner’s other claims is
subject to multiple of the exceptions listed above. Accordingly, the petitioner is not
entitled to an evidentiary hearing.


                                      CONCLUSION
       For the reasons set forth above, the petitioner’s motion to vacate is denied.
Judgment shall be entered accordingly by separate order.


       DONE and ORDERED this 22nd day of January, 2008.


                                                   s/ WILLIAM H. STEELE
                                                   UNITED STATES DISTRICT JUDGE




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